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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


     NAVY SEAL 1, et al.,

             Plaintiffs,

     v.                                                       CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     ___________________________________/

                                                   ORDER

             The plaintiffs move (Doc. 157) for temporary and preliminary injunctive relief

     on behalf of an Air Force Cadet whom the Air Force denied a religious accommoda-

     tion from COVID-19 vaccination. The motion principally “incorporate[s] by refer-

     ence the legal argument contained in [the plaintiffs’] preliminary injunction briefing

     (Docs. 2, 30, 51, 104, 145-1), and rel[ies] on the supplemental declarations and no-

     tices of supplemental authority filed in support of classwide preliminary injunctive

     relief (Docs. 82, 95, 100, 113, 143, 146), as well as the findings and conclusions in

     the Court’s various orders regarding injunctive relief (Docs. 40, 67, 111, 122, 133,

     150).” *



             *
               In tension with the page limit of Local Rule 3.01(a), the incorporation—with minimal argu-
     ment—of hundreds of pages of orders, motions, and memorandums intolerably burdens the district
     judge to forage the record to identify and extract from those hundreds of pages the items pertinent to
     the instant motion. If the plaintiffs contend that argument or relief elsewhere in this action supports
     injunctive relief on behalf of this movant, the plaintiffs must re-state those points and discuss perti-
     nent similarities to, and differences from, this movant. (For instance, this movant serves in a differ-
     ent branch of the military from the other movants and, as an academy enrollee, serves that branch in
     a different capacity from the other movants).
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            Under Rule 65(a), Federal Rules of Civil Procedure, a request for injunctive

     relief must demonstrate (1) that the movant enjoys a substantial likelihood of success

     on the merits, (2) that the movant will suffer an imminent and irreparable injury ab-

     sent an injunction, (3) that the injury to the movant outweighs the injury to the en-

     joined party, and (4) that the injunction is not adverse to the public interest. Siegel v.

     LePore, 234 F.3d 1163, 1176 (11th Cir. 2000). In this instance, a review of the mo-

     tion, the response, and the record counsels in favor of preserving the status quo to

     permit a reasonable consideration of the merits of the motion, an independent assess-

     ment of which reveals that each element of preliminary injunctive relief is likely satis-

     fied and that the defendants will suffer minimally, if any, harm in extending by an-

     other two weeks USAFA Cadet’s vaccination deadline (already extended by the Air

     Force).

            The motion (Doc. 157) is GRANTED-IN-PART. To permit a reasonable but

     expeditious opportunity for a hearing and for the preparation of an order, the defend-

     ants are temporarily enjoined (1) from enforcing against USAFA Cadet any order or

     regulation requiring COVID-19 vaccination, (2) from separating or “disenrolling”

     USAFA Cadet, and (3) from any retaliatory action against USAFA Cadet as a result

     of, or arising from, USAFA Cadet’s requesting a religious accommodation, appeal-

     ing the denial of a request for religious accommodation, or pursuing this action or

     any other action for relief under RFRA. Nothing in this injunction precludes the de-

     fendants “from considering [USAFA Cadet’s] vaccination status in making



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     deployment, assignment, and other operational decisions.” Austin, et al. v. U.S. Navy

     Seals, et al., No. 21A477, 595 U.S. ___ (2022).

           This temporary injunctive relief expires MAY 6, 2022, at 11:59 p.m. A hear-

     ing by videoconference will occur APRIL 28, 2022, at 10:30 a.m. Not later than

     APRIL 27, 2022, at 12:00 p.m. each party must in a notice identify any witness or

     evidence tendered for admission during the hearing. The courtroom deputy will

     transmit to counsel instruction for appearing by videoconference

           ORDERED in Tampa, Florida, on April 25, 2022.




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